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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS, et
 al.,

     Plaintiffs,

     v.                                                            Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.


                              DECLARATION OF JESSICA OLIVE

I, Jessica Olive, upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am a supervising attorney at UnLocal, Inc., a community-based non-profit providing

          direct legal services to New York’s immigrant communities. I am an attorney in good

          standing with the State Bar of New York, with nearly five years of experience. My practice

          focuses on representing immigrants seeking humanitarian relief, both through affirmative

          applications and in defensive proceedings. I now represent E.M.P., who was paroled into

          the United States at a port of entry in 2023 and is now being processed for expedited

          removal. E.M.P. is a member of CASA.

   3. E.M.P. is a national of Venezuela who presented for inspection at the San Ysidro Port of

          Entry on December 12, 2023. Well before arriving at the port, E.M.P. had secured an

          appointment using the CBP One application, and following inspection he was granted

          parole through December 9, 2025. At the same time, he was issued a Notice to Appear that

          required him to appear for an initial master calendar hearing in Las Vegas, Nevada on
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   February 6, 2025. Attached as Exhibit A to this declaration is a true and correct copy of

   E.M.P.’s Notice to Appear with all personally identifiable information redacted.

4. After he was paroled into the United States, E.M.P. resided in Mesquite, Nevada for six

   months before moving to Manhattan and then the Bronx, New York. E.M.P. obtained work

   authorization based on his parole status and was working to support himself and his family.

5. On November 6, 2024, E.M.P. filed a form I-589 Application for Asylum and Withholding

   of Removal with the court and without legal representation. On February 6, 2025, E.M.P.

   appeared pro se for his initial master calendar hearing in Las Vegas, Nevada. Because

   E.M.P. had relocated to New York by that point, the Immigration Judge changed venue to

   New York.

6. On May 21, 2025, E.M.P. appeared at the New York Broadway Immigration Court at 290

   Broadway pro se for his second master calendar hearing. At the hearing, the attorney

   representing the Department of Homeland Security (DHS) moved to dismiss E.M.P.’s case.

   Some of the conversation between the immigration judge and the DHS attorney took place

   in English and were not translated into Spanish for E.M.P. The immigration judge, Edward

   Grogan, ordered dismissal and advised E.M.P. to apply for asylum affirmatively with U.S.

   Citizenship and Immigration Services (USCIS) if he wanted to continue his asylum claim.

   Attached as Exhibit B to this declaration is a true and correct copy of the immigration

   judge’s dismissal order with all personally identifiable information redacted. It was not

   made clear to E.M.P. that following dismissal the government would take steps to place

   him in expedited removal and foreclose his ability to apply for asylum affirmatively with

   USCIS.




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7. After the case was dismissed, three plainclothes officers followed E.M.P. to the elevator to

   exit the building. Upon arriving in the lobby, he was approached by other plainclothes

   officers who identified him and detained him. He was placed in an unmarked car with other

   individuals and moved around to various locations.

8. Had the immigration judge understood that DHS only moved to dismiss proceedings so

   that E.M.P. could be detained and processed for expedited removal, it seems likely that

   Judge Grogan would not have advised E.M.P. to apply for asylum affirmatively, because

   that became unavailable to him once he was arrested and placed in expedited removal

   proceedings.

9. During his detention, E.M.P. expressed a fear of returning to Venezuela and is now housed

   at Moshannon Valley Processing Center in Pennsylvania awaiting a credible fear interview

   (CFI) according to an email sent to me from a Deportation Officer when E.M.P. was in

   transit between facilities. Attached as Exhibit C to this declaration is a true and correct copy

   of the email with all personally identifiable information redacted. I do not believe E.M.P.

   has been told anything about being processed for expedited removal, nor has he been issued

   any documentation regarding expedited removal, including an I-860, Notice and Order of

   Expedited Removal.

10. After his last hearing, E.M.P. should have been able to return home and gather evidence in

   support of his claim with the help of his community. Instead, he is now detained in a

   location far away, unable to regularly communicate with his attorney and loved ones.

   E.M.P. was actively pursuing his asylum claim when that process was abruptly taken from

   him. Forcing him into the CFI process is not an adequate substitute, as it offers substantially

   fewer legal protections. By placing C.M.P. in expedited removal proceedings, the




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   government effectively denied him his due process rights. Additionally, E.M.P., who is

   HIV+, went days without his life-saving medication because of his detention. In the limited

   conversations I have had with E.M.P., he has indicated that his mental health is

   deteriorating rapidly. He has trouble sleeping and is debilitated by intrusive thoughts and

   fears about being returned to Venezuela at a moment’s notice.

11. Even if E.M.P. were to pass his credible fear interview, returning him to removal

   proceedings does not restore the position he was in before. The damage has already been

   done. He now faces the asylum process with greater fear and uncertainty, knowing that the

   system meant to protect him can change course without warning. This disruption has not

   only undermined his legal rights but has also deepened his trauma, as he lives with the

   constant threat that the rules may once again shift beneath him.

12. I have reviewed the contents of this declaration with E.M.P. over a phone call, and he has

   confirmed that all statements about his immigration history, immigration status, and

   immigration case are true and correct to the best of his knowledge. It is not feasible for

   E.M.P. to prepare his own signed declaration, because he is in immigration detention and

   I am only able to speak to him occasionally by phone. I declare under penalty of perjury

   and under the laws of the United States that the foregoing is true and correct to the best of

   my knowledge.




                                          Executed in New York, New York on June 5, 2025


                                                       _______________________________
                                                        Jessica Olive, Esq.




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                      EXHIBIT A




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                      EXHIBIT B




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                     EXHIBIT C




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